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                   1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
                      John B. Quinn (Bar No. 090378)
                   2  (johnquinn@quinnemanuel.com)
                      William C. Price (Bar No. 108542)
                   3  (williamprice@quinnemanuel.com)
                       Michael T. Zeller (Bar No. 196417)
                   4  (michaelzeller@quinnemanuel.com)
                     865 South Figueroa Street, 10th Floor
                   5 Los Angeles, California 90017-2543
                     Telephone: (213) 443-3000
                   6 Facsimile: (213) 443-3100
                  7 Attorneys for Mattel, Inc. and
                    Mattel de Mexico, S.A. de C.V.
                  8
                                           UNITED STATES DISTRICT COURT
                  9
                                          CENTRAL DISTRICT OF CALIFORNIA
                 10
                                                   SOUTHERN DIVISION
                 11
                    MATTEL, INC., a Delaware             CASE NO. CV 04-9049 DOC (RNBx)
                 12 corporation, and Mattel de Mexico,   Consolidated with
                    S.A. de C.V., a Mexico business      Case No. CV 04-09059
                 13 entity,                              Case No. CV 05-02727
                                 Plaintiffs,
                 14                                      Hon. David O. Carter
                            vs.
                 15                                      [PROPOSED] ORDER GRANTING
                    MGA ENTERTAINMENT, INC., a           MATTEL, INC.’S REQUEST FOR
                 16 California corporation, et al.       ADMISSION OF CARTER BRYANT
                                                         DRAWING EXHIBITS INTO
                 17              Defendants.             EVIDENCE
                 18
                        AND CONSOLIDATED ACTIONS
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00505.07975/4064648.1
                                                                                [PROPOSED] ORDER
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                   1                                 [PROPOSED] ORDER
                   2              Based on the concurrently filed Request for Admission of Carter
                   3 Bryant Drawing Exhibits into Evidence
                   4              IT IS HEREBY ORDERED:
                   5              1.     The following exhibits contained in the binder reviewed by
                   6 Carter Bryant outside the presence of the jury pursuant to Court Order and
                   7 authenticated by Mr. Bryant at trial are admitted into evidence:
                   8           1. Trial Exhibit 1
                   9           2. Trial Exhibit 2
                 10            3. Trial Exhibit 3
                 11            4. Trial Exhibit 5-3, 5-14, 5-18 – 5-19, 5-26 – 5-28, 5-30, 5-34 – 5-43, 5-
                 12               46, 5-49, 5-50, 5-52 – 5-89, 5-95 – 5-96, 5-99, 5-101 – 5-108, 5-111 –
                 13               5-114, 5-136
                 14            5. Trial Exhibit 10-2, 10-3
                 15            6. Trial Exhibit 35
                 16            7. Trial Exhibit 62
                 17            8. Trial Exhibit 63-1
                 18            9. Trial Exhibit 323-18, 323-19, 323-26, 323-32, 323-33
                 19            10. Trial Exhibit 523
                 20            11. Trial Exhibit 620
                 21            12. Trial Exhibit 621
                 22            13. Trial Exhibit 623
                 23            14. Trial Exhibit 624
                 24            15. Trial Exhibit 701-713
                 25            16. Trial Exhibit 715-728
                 26            17. Trial Exhibit 734-737
                 27            18. Trial Exhibit 739-744
                 28            19. Trial Exhibit 746
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                                                                                          [PROPOSED] ORDER
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                   1      20. Trial Exhibit 751
                   2      21. Trial Exhibit 752-762
                   3      22. Trial Exhibit 764-765
                   4      23. Trial Exhibit 767-768
                   5      24. Trial Exhibit 770-771
                   6      25. Trial Exhibit 773-786
                   7      26. Trial Exhibit 788-796
                   8      27. Trial Exhibit 1107-1110
                   9      28. Trial Exhibit 1152-1, 1152-2, 1152-5, 1152-6, 1152-7, 1152-8, 1152-9,
                 10          1152-11, 1152-12, 1152-13, 1152-14, 1152-15, 1152-16, 1152-17,
                 11          1152-18, 1152-19, 1152-20
                 12       29. Trial Exhibit 1327
                 13       30. Trial Exhibit 1328
                 14       31. Trial Exhibit 1748
                 15       32. Trial Exhibit 1750
                 16       33. Trial Exhibit 1751-1, 1751-4, 1751-5
                 17       34. Trial Exhibit 1752-1
                 18       35. Trial Exhibit 10033-3, 10033-4
                 19       36. Trial Exhibit 10153-3, 10153-4
                 20       37. Trial Exhibit 10515
                 21       38. Trial Exhibit 10518-10519
                 22       39. Trial Exhibit 10526
                 23       40. Trial Exhibit 10534-10539
                 24       41. Trial Exhibit 10542-10547
                 25       42. Trial Exhibit 10579
                 26       43. Trial Exhibit 10613
                 27       44. Trial Exhibit 10638-10639
                 28       45. Trial Exhibit 11788-11789
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                                                                                   [PROPOSED] ORDER
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                   1         46. Trial Exhibit 11837-11838
                   2         47. Trial Exhibit 13583
                   3         48. Trial Exhibit 15172
                   4         49. Trial Exhibit 15175-15177
                   5         50. Trial Exhibit 15179-15182
                   6         51. Trial Exhibit 15184
                   7         52. Trial Exhibit 18281
                   8         53. Trial Exhibit 18501
                   9
                 10 DATED:                        , 2011
                                                           Hon. David O. Carter
                 11                                        United States District Judge
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                                                                                          [PROPOSED] ORDER
